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                                       September 20, 2023


ECF
Hon. Julien Xavier Neals, U.S.D.J.
MLK Courtroom 5D
United States District Court, D.N.J.
U.S. Post Office & Courthouse
1 Federal Square
Newark, New Jersey 07101-0999

        Re:     Honig v. Cohen
                Civil Action No. 2:23-cv-11104-JXN-JBC
                Letter Motion Seeking Pre-Motion Conference for Motion to Dismiss

Dear Judge Neals:

        This law firm represents defendants Gregory Cohen and Greg Cohen Promotions, LLC in

the above matter. We submit this letter pursuant to Your Honor’s Individual Rules to request a

pre-motion conference for leave to file a motion to dismiss for lack of subject matter jurisdiction.

We have had several communications with plaintiffs’ counsel and provided them with

documentation establishing that there is no diversity jurisdiction (no diverse citizenship between

the parties). Notwithstanding, they have refused to dismiss the case prompting me to seek

intervention from the Court in lieu of the filing of an answer. We are assessing whether a Rule

11 Sanctions motion is also appropriate.




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        As Your Honor is aware, diversity jurisdiction requires complete diversity of citizenship

between the parties. “Complete diversity requires that, in cases with multiple plaintiffs or

multiple defendants, no plaintiff be a citizen of the same state as any defendant.” Zambelli

Fireworks Mfg. Co. v. Wood, 592 F.3d at 419 citing Exxon Mobil Corp. v. Allapattah Svcs.

Inc., 545 U.S. 546, 553, 125 S.Ct. 2611, 162 L.Ed.2d 502 (2005); and Kaufman v. Allstate N.J.

Insur. Co., 561 F.3d 144, 148 (3d Cir.2009). The citizenship of a limited liability company is

determined by its members and is determined by the citizenship of all the states of its members.

GBForefront, L.P. v. Forefront Mgmt. Grp., LLC, 888 F.3d 29, 34 (3d Cir. 2018).

        Here the plaintiffs appear to be citizens of Florida. Notably, plaintiff Barry Honig has

only alleged his “residence” in the Complaint - and not his citizenship – a further defect with the

jurisdictional allegations. [ECF 1 at para 7]. A party asserting jurisdiction must plead

citizenship distinctly and affirmatively; allegations of residence are not enough. See, e.g., Siloam

Springs Hotel, L.L.C. v. Century Sur. Co., 781 F.3d 1233, 1238 (10th Cir. 2015).

Notwithstanding, the corporate plaintiff is clearly a citizen of Florida. [ECF 1 at para 8]

         The defendant Greg Cohen Promotions, LLC is a limited liability company with two

members that are citizens of the State of Florida. As such, there is no diversity of citizenship –

and thus, also no subject matter jurisdiction over this matter.

        Even arguendo were their diversity jurisdiction, which there is not, the subject matter of

this lawsuit involves a dispute arising under a November 2019 Standstill Agreement between

plaintiffs Barry Honig and GRQ Consultants, on the one hand, and defendants Greg Cohen

Promotions and Greg Cohen, on the other hand (the “Standstill Agreement”). The Standstill



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Agreement governs the terms of repayment of debt allegedly owing to plaintiffs in the

Complaint. The Standstill Agreement expressly sets exclusive jurisdiction in New York State

courts for any disputes arising under the agreement. Here, since there is no federal jurisdiction,

any claims arising from the Standstill Agreement would be required to be filed in New York

State Supreme Court.

        I have brought this matter to the attention of plaintiffs’ counsel and have requested that

this matter be dismissed. Plaintiffs have refused and appear to prefer to waste the time of the

Court and the parties. We respectfully request a pre-motion conference to address these matters

and to obtain permission to file an appropriate motion.

                                                              Respectfully Submitted,

                                                              s/ David A. Schrader

                                                              David A. Schrader

cc: all counsel (by ECF)




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